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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                Chapter 11

    THE GREAT ATLANTIC & PACIFIC TEA                      Case No. 15-23007-rdd
    COMPANY, Inc., et al., 1
                                                          Jointly Administered
    Debtors.
    THE GREAT ATLANTIC & PACIFIC TEA
    COMPANY, INC., et al.,

    Plaintiffs,

                           v.                             Adv. Proc. No. 18-08245 (RDD)

    PEPSICO, INC., et al.,                                DEFENDANTS’ MEMORANDUM OF
                                                          LAW IN SUPPORT OF MOTION FOR
    Defendants.                                           SUMMARY JUDGMENT ON COUNTS
                                                          ONE THROUGH FOUR AND PARTIAL
                                                          SUMMARY JUDGMENT ON COUNTS
                                                          FIVE THROUGH TWENTY-FIVE

1
 The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live Better, LLC;
A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.; Borman’s, Inc.; Delaware
County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza Corp.; Montvale Holdings, Inc.;
Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.; Plainbridge LLC; Shopwell, Inc.; Super Fresh
Food Markets, Inc.; The Old Wine Emporium of Westport, Inc.; Tradewell Foods of Conn., Inc.; and Waldbaum,
Inc. (collectively, the “Debtors”).


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         Defendants PepsiCo, Inc.; Bottling Group, LLC (d/b/a Pepsi Beverages Company and

f/d/b/a The Pepsi Bottling Group ); Frito-Lay North America, Inc.; Quaker Sales and

Distribution, Inc.; and Muller Quaker Dairy, LLC (collectively “Pepsi”) respectfully submit this

Memorandum of Law in Support of their Motion for Summary Judgment.

                                            I.       INTRODUCTION

         Pepsi is entitled to summary judgment on Counts One through Four of the Debtors’

untimely Second Amended Complaint (the “SAC”). The preference avoidance and recovery

claims in Counts One through Four are time-barred by the limitations on the Debtors’ avoiding

powers set forth in 11 U.S.C. § 546(a)(1)(A) (“§ 546”).

         Pepsi is further entitled to partial summary judgment on the Debtors’ claims in Counts

Five through Twenty-Five based on breach of contract, promissory estoppel, and unjust

enrichment. To the extent those claims arise under contracts for sale and accrued before April

16, 2014, they are time-barred under Article 2 of the Uniform Commercial Code. See N.Y.

Uniform Commercial Code § 2-725. To the extent those claims did not arise under contracts for

sale and accrued before April 16, 2012, they are time-barred under the State of New York six-

year statute of limitations. See N.Y. Civil Practice Law § 213 (McKinney 2019). 2




2
  The Debtors allege that “[a]s to the Fifth through Twenty-Sixth Causes of Action set forth below, GAPT requests
relief under the applicable common law (or laws) of express and implied contract, unjust enrichment and promissory
estoppel, including, but not limited to, the laws of the State of New York.” (SAC, ¶ 22). Because the Debtors have
not alleged the particulars of the contracts or transactions at issue, Pepsi agrees to the application of New York law
for the purpose of this Motion only.


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                                      II.     BACKGROUND

        The Debtors, formerly a national grocery store chain, filed their chapter 11 cases on July

19, 2015. (SOF, ¶ 1). On April 16, 2018, well outside the two-year statute of limitations set forth

in § 546, the Debtors filed their original complaint initiating this adversary proceeding (the

“Case”) against Pepsi, for, among other things, avoidance and recovery of preferential transfers

under sections 547 and 550 of the United States Bankruptcy Code, 11 U.S.C. § 101 et seq. (the

“Bankruptcy Code”).(SOF, ¶ 41). The Debtors also sued Pepsi under various contract or

contract-related theories involving transactions dating from December 24, 2010 through

November 25, 2015. (SOF, ¶¶ 43, 46, 50).

        The Debtors were operated by sophisticated businesspeople, some of whom were

members of Debtors’ management team during the Debtors’ prior chapter 11 cases filed in 2010.

(SOF, ¶ 4). The Debtors were (and continue to be) represented by experienced counsel. (SOF,

¶ 5).

        In May 2016, the Debtors, the Official Committee of Unsecured Creditors appointed in

the Debtors’ chapter 11 cases (the “Committee”), and certain of the Debtors’ secured lenders

resolved a dispute by entering into a Global Settlement Agreement (the “GSA”). (SOF, ¶ 7). The

GSA, a publicly filed, Court-approved document, explicitly provides the mechanism for

prosecution of the estates’ Avoidance Actions (as defined in § 1 of the GSA). (SOF, ¶¶ 8-10).

        Among other things, the GSA provides that the Committee shall prosecute all Avoidance

Actions with representation by the Committee’s counsel Pachulski, Stang, Ziehl & Jones LLP

(“Pachulski”) and under supervision of an Oversight Committee composed of one designee each

from the Debtors, the Committee, and the secured creditors. (SOF, ¶¶ 9-10, 12). The GSA further

provides that if Pachulski has a conflict with respect to an Avoidance Action, the Oversight



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Committee “shall select alternative counsel for the prosecution of such matter.” (Emphasis

added). (SOF, ¶ 12).

        On June 9, 2017, Pachulski partner Andrew Caine wrote to Pepsi’s counsel Jeremy C.

Kleinman and Mark Felger stating that the Committee was beginning to prepare preference

complaints “given the upcoming 2 year anniversary of the July 19, 2015 petition dates.” (SOF, ¶

19). Mr. Caine proposed a 90-day tolling agreement between Pepsi and the Committee while

they discussed resolution of preference claims. (Id.).

        On June 19, 2017, the Committee and Pepsi entered into a tolling agreement extending

statutes of limitation from July 17, 2017 through October 16, 2017 (the “First Tolling

Agreement”). (SOF, ¶ 20). Pepsi and the Committee agreed to toll and extend the statutes of

limitation applicable to “any cause of action brought by the Committee against Pepsi” through

October 16, 2017. (Id. (emphasis added)). Pepsi and the Committee subsequently entered into

four more tolling agreements (with the First Tolling Agreement, the “Tolling Agreements”),

ultimately extending the Committee’s filing deadline to April 16, 2018. (SOF, ¶¶ 28, 30, 32, 35).

        The Debtors were not parties to the First Tolling Agreement and the limitations date set

by § 546 passed on July 19, 2017 without any tolling agreement between Pepsi and the Debtors.

(SOF, ¶¶ 20, 24-26). After July 19, 2017, § 546 barred the Debtors from bringing any avoidance

action against Pepsi.

        The negotiations between Pepsi and the Committee had failed by March 16, 2018. (SOF,

¶ 40). In the meantime, Pachulski, had gained access to certain of Pepsi’s confidential,

proprietary business information in connection with another case, In re Haggen Holdings, LLC,

No. 15-11874, pending in the United States Bankruptcy Court for the District of Delaware (the




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“Haggen Case”). (SOF, ¶¶ 36-40). On March 16, 2018, Pachulski told Pepsi that it had asked the

Oversight Committee to engage new counsel in this matter. (SOF, ¶ 40).

        Rather than follow the procedure set forth in the GSA for selecting new Committee

counsel if Pachulski could not proceed (see GSA, § 4(a)), the Debtors “elected to prosecute this

adversary proceeding themselves.” (SAC, ¶ 8). The Debtors apparently received consent from

the Oversight Committee to proceed. (See id.).

        On April 16, 2018, almost nine months after the § 546 deadline, the law firm Gibbons

P.C. (“Gibbons”), initially purporting to act on behalf of both the Committee and the Debtors,

filed the complaint signed by David N. Crapo that initiated this adversary proceeding. (SOF, ¶

41).

        On April 17, 2018, Mr. Caine wrote to Jeremy Kleinman, counsel for Pepsi, that

“Gibbons mistakenly filed the complaint on behalf of the Committee. We have asked that they

change the party to the Debtors.” (Emphasis added). (SOF, ¶ 44). Mr. Caine’s message makes

clear that the Committee and its counsel understood that the Committee and the Debtors are

separate and distinct entities and that only the Debtors were actually party to the adversary

proceeding.

        On April 23, 2018, the Debtors filed a First Amended Adversary Complaint (the “FAC”)

naming themselves as sole plaintiffs. (SOF, ¶ 45). By this time, both the § 546 statute of

limitations and the tolling period for the Committee had passed. (Id.).

        The Debtors’ filing of the FAC and the allegations set forth in paragraphs 7 and 8

demonstrate that the Debtors also understood that the Committee and the Debtors are separate

and distinct entities and that only the Debtors were actually party to the adversary proceeding:

        7. Neither the Settlement Order nor the GSA affords the Committee sole authority or
        standing to litigate Avoidance Actions on behalf of the Debtors’ estates, and neither the

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        Settlement Order nor the GSA impacts or limits the Debtors’ authority and standing to
        prosecute contractual claims on behalf of their bankruptcy estates.

        8. Because this adversary proceeding includes both Avoidance Action and contractual
        claims against the Defendants, the Debtors have elected to prosecute this adversary
        proceeding themselves. Counsel for the Committee and the Lenders have consented to
        the Debtors’ prosecution of this adversary proceeding.

(FAC, ¶¶ 7-8). The Debtors reiterated this understanding when they filed the SAC, which

included identical allegations, on August 17, 2018. (See SAC, ¶¶ 7-8).

        The § 546 deadline for the Debtors to file avoidance actions passed on July 19, 2017. The

Debtors were not parties to the First Tolling Agreement or any of the subsequent Tolling

Agreements between Pepsi and the Committee. (SOF, ¶¶ 20, 24-26, 28, 30, 32, 35). The

preference counts of the SAC are thus untimely by approximately nine months and summary

judgment should be granted in Pepsi’s favor on Counts One through Four of the SAC.

        In Counts Five through Twenty-Five of the SAC, the Debtors allege liability arising from

events or transactions dating back to December 24, 2010. Summary judgment should be granted

in Pepsi’s favor on each of these counts for liability arising under contracts for sale and accrued

before April 16, 2014. See N.Y. Uniform Commercial Code § 725 (McKinney 2019). Summary

judgment should also be granted in Pepsi’s favor on each of these counts for liability not arising

under a contract for sale prior to April 16, 2012 in accordance with the six-year statute of

limitations under New York law. See N.Y. Civil Practice Law § 213 (McKinney 2019).

                                         III.   ARGUMENT

        The basic and undisputable facts material to this Motion are that:

             •   The § 546 two-year statute of limitations on avoidance actions passed on July 19,
                 2017;

             •   In the Tolling Agreements, Pepsi and the Committee agreed to toll the statute of
                 limitations through April 16, 2018 for claims the Committee may bring and that
                 “the Tolling Period shall be excluded from any calculation of any statute of

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                 limitations period applicable to any Cause(s) of Action brought by the
                 Committee against Pepsi.” (Tolling Agreements, § 2)(emphasis supplied)

             •   Pepsi and the Debtors had no tolling agreement;

             •   The Debtors filed their original complaint on April 16, 2018, almost nine months
                 after the statutory limit for avoidance actions;

             •   Certain contract or contract-related claims in Counts Five through Twenty-Five of
                 the SAC are time-barred by New York’s four-year statute of limitations under the
                 Uniform Commercial Code (the “UCC”) and its six-year statute of limitations set
                 forth in its Civil Practice Law; and

             •   Pepsi did not agree to toll any statute of limitations in connection with the
                 allegations of Counts Five through Twenty-Five.

    1. Summary Judgment Standards.

        Fed. R. Bankr. P. 7056 incorporates Fed. R. Civ. P. 56, which provides that the Court

shall grant summary judgment if the movant establishes that there is no genuine dispute as to any

material fact and it is entitled to judgment as a matter of law. Solus Alt. Asset Mgmt. LP v. Delphi

Auto. PLC (In re DPH Holdings Corp.), 553 B.R. 20, 25 (Bankr. S.D.N.Y. 2016). Once the

movant has established the material elements of its claim or defense, the nonmoving party must

provide evidence of a genuine issue of material fact to defeat the motion. Id. (citing Matsushita

Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 585–86 (1986)). A party asserting that a

fact cannot be or is genuinely disputed must support the assertion by citing to particular parts of

materials in the record or showing that the materials cited do not establish the absence or

presence of a genuine dispute, or that an adverse party cannot produce admissible evidence to

support the fact. DPH, 553 B.R. at 25 (citing Fed. R. Civ. P. 56(c)).

        Facts are material if they “might affect the outcome of the suit under the governing

law[.]” DPH, 533 B.R. at 25 (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986)). The motion may not be defeated by conclusory, self-serving or unsupported allegations,


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by simply raising metaphysical doubts about a material fact, or by identifying immaterial

disputed facts. DPH, 533 B.R. at 25 (citing Anderson, 477 U.S. at 247–48; Matsushita, 475 U.S.

at 586; Weinstock v. Columbia Univ., 224 F.3d 33, 41 (2nd Cir. 2000), cert. denied, 540 U.S. 811

(2003)).

        It is well recognized that “[i]f a claim or defense is predicated on a written, integrated

contract, the case may be particularly suited for resolution by summary judgment. The

interpretation of an unambiguous contract, and the initial determination of whether the contract is

or is not ambiguous, are considered pure questions of law.” DPH, 533 B.R. at 25 (citing 11

JAMES WM. MOORE ET AL.., MOORE’S FEDERAL PRACTICE ¶ 56.25[1][a] (3d ed. 2015); Am. Home

Assur. Co. v. Hapag Lloyd Container Linie, GmbH, 446 F.3d 313, 316 (2nd Cir. 2006)).

    2. The Tolling Agreements Are Unambiguous, Written, Integrated Contracts that Do Not
       Include the Debtors.

        The only argument that the Debtors can make in an attempt to legitimize their untimely

filing is that the limitations set forth in § 546 were somehow actually or equitably tolled as to

them. However, each of the Tolling Agreements was unambiguously made between and

executed by only Pepsi and the Committee. (See Tolling Agreements). The Tolling Agreements

explicitly provide that they are integrated agreements (see Tolling Agreements, § 3(e)) that inure

only to the benefit of Pepsi, the Committee, and their “successors-in-interests, assigns, and legal

representatives.” (See id., § 3(c)).

        When interpreting a contract, the Court’s “primary objective ... is to give effect to the

intent of the parties as revealed by the language of their agreement.” Compagnie Financiere de

CIC et de L'Union Europeenne v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 232 F.3d 153,

157 (2nd Cir. 2000). “[T]he words and phrases [in a contract] should be given their plain

meaning, and the contract should be construed so as to give full meaning and effect to all of its


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provisions.” Olin Corp. v. Am. Home Assur. Co., 704 F.3d 89, 99 (2nd Cir. 2012) (internal

quotation marks omitted). “No ambiguity exists where the contract language has a definite and

precise meaning, unattended by danger of misconception in the purport of the [contract] itself,

and concerning which there is no reasonable basis for a difference of opinion.” Law Debenture

Trust Co. of N.Y. v. Maverick Tube Corp., 595 F.3d 458, 467 (2nd Cir. 2010) (citations and

quotations omitted). “When the terms of a written contact are clear and unambiguous, the intent

of the parties must be found within the four corners of the contract.” DPH, 533 B.R. at 26

(quoting Chesapeake Energy Corp. v. The Bank of New York Mellon Trust Co., N.A., 773 F.3d

110, 113–14 (2nd Cir. 2015)).

        When a contract has been negotiated between “sophisticated, counseled businesspeople”

and on its face “is reasonably susceptible to only one meaning, a court is not free to alter the

contract to reflect its personal notions of fairness and equity.” DPH, 533 B.R at 27. “In such

circumstances, courts should be extremely reluctant to interpret an agreement as impliedly

stating something which the parties have neglected to specifically include.” Id.

        Moreover, an integration or merger clause, which each of the Tolling Agreements

contains (see Tolling Agreements, § 3(e)), should be accepted as the clearest evidence that an

agreement is entirely integrated and unambiguous and that parol evidence should not be

considered. Starter Corp. v. Converse, Inc., 1996 WL 706837 at *5 (S.D.N.Y., Dec. 3, 1996)

(citing Manufacturers Hanover Trust Co. v. Yanakas, 7 F.3d 310, 315 (2nd Cir. 1993)); see also

Morrissey v. Gen’l Motors Corp., 21 Fed.Appx. 70, 73 (2nd Cir. 2001) (“Ordinarily, a merger

clause provision indicates that the subject agreement is completely integrated”); Inv’r Ins. Co. of

Am. v. Dorinco Reinsurance Co., 917 F.2nd 100, 104 (2nd Cir. 2000) (conclusion to bar parol

evidence was “particularly appropriate given the Agreement's ‘integration clause,’ which



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provides that the Agreement represents the entire understanding of the parties to the

transaction”); Feder Kaszovitz LLP v. Rosen, 2018 WL 3708662 at *5 (S.D.N.Y., Aug. 3, 2018)

(citing Dorinco, 917 F.2nd at 104).

        Courts have routinely interpreted tolling agreements by the specific language they

contain and the specific parties they include. See, e.g., MCC Proceeds, Inc. v. Whitman &

Ransom, 1997 WL 289470 at *2-3 (S.D.N.Y., May 30, 1997) (applying the language of the

tolling agreement and the identification of the signatories to conclude that the agreement bound a

law firm and its individual partners). In MCC, the individual partners of a law firm argued that

the applicable statute of limitations time-barred a liquidating trustee’s malpractice claims against

them. Id. at *1. The liquidating trustee argued that a tolling agreement, executed by two law firm

Executive Committee members, bound each individual partner. The Court read the language of

the agreement, which stated that the executing partners had been duly authorized and the

agreement was binding on the law firm and its partners, to bind both the law firm and the

partners individually. Id. at *2 (emphasis in original). The court wrote that the plain language of

the tolling agreement demonstrated an intent to bind the individual partners. Id.

        The MCC court distinguished Resolution Trust Co. v. Bonner, 848 F.Supp. 96, 98-99

(S.D. Texas 1994). MCC, 1997 WL 289470 at *2. In Bonner, the court granted summary

judgment in favor of the individual partners of a law firm where a tolling agreement in a

malpractice and breach of fiduciary duty case, signed by a partner on behalf of a law firm and by

another partner (the alleged wrongdoer) in his individual capacity, provided that the agreement

would be binding on the firm, the individual partner, and “their agents and attorneys.”

848 F.Supp. at 98-99. The court noted that only the firm and the individual were named parties to

the tolling agreement. Id. at 99. Only the firm and the individual were signatories. Id. at 98.



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Applying the principle that no provision of an agreement should be rendered meaningless, the

court noted that the individual partner’s signature and inclusion would be rendered meaningless

if the agreement were read to include individual partners. Id. Importantly, the court stated that

“[i]f the individual partners were intended to be bound by the tolling contract, then the parties

could easily have included a provision binding ‘[the firm] and its partners.’” Id.

        Similarly, in Caguas Cent. Sav. Bank v. U.S., the court looked at the plain language of a

tolling agreement and concluded that “on their face” the agreement’s provisions applied only to

its makers and signatories, the receiver of an insolvent savings and loan company and the United

States Department of Justice. 215 F.3d 1304, 1309 (Fed. Cir. 2000). Like the Tolling Agreements

in this adversary proceeding (see Tolling Agreements, Recitals), the Caguas agreement tolled the

statute to allow the two parties to attempt an amicable resolution. See Caguas, 215 F.3d at 1309.

Like the Tolling Agreements, which tolled the limitations on causes of action the Committee

might bring (see Tolling Agreements, § 2), the Caguas agreement tolled the statute for certain

claims the receiver “‘may possess.’” See Caguas, 215 F.3d at 1309 (quoting the tolling

agreement). Like Pepsi’s agreement not to raise the § 546 limitations as a defense against the

Committee (see Tolling Agreements, § 2), the United States agreed to not to raise limitations as a

defense to claims brought by the receiver. See Caguas, 215 F.3d at 1309. The court noted that

there could be no reason that the parties to the tolling agreement would wish to extend the tolling

period to third parties—like the Tolling Agreements, the purpose of the Caguas tolling

agreement was to allow the two parties to the agreement a time to settle amicably, not to allow

third parties more time to bring suit. See id. at 1310. The Caguas court concluded that:

        Nothing in the tolling agreement, however, even suggests, much less establishes, that the
        parties to it intended to toll the statute of limitations for suits brought by [third
        parties]. . . .On their face, these provisions toll the statute of limitations only for cases
        filed by the [receiver] on Goodwill Claims it possesses. They do not toll the statute on

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        claims filed not by the [receiver], but by former members of an insolvent savings and
        loans associations on behalf of the association.

Id.

        The Caguas court also rejected the alternative argument that the tolling agreement should

be read to include the insolvent savings and loan company because any recovery the receiver

obtained would be for the benefit of the receivership estate. Id. The court was explicit that

“Caguas was not a party to that agreement, and it did not become one merely because any

recovery the Resolution Trust Corporation might obtain on Caguas’ claims would be for Caguas’

benefit.” Id.

        In Frazer v. U.S., the shareholders and directors of another defunct thrift institution filed

an untimely derivative action on behalf of the institution, arguing that they could rely on a tolling

agreement between and executed by the statutory receiver and the Justice Department. 49 Fed.

Cl. 734, 736 (Fed. Cl. 2001). The Frazer court wrote that:

        The bank was not a party to this agreement and there is nothing in the text of the
        agreement to suggest that the bank was intended to be a third-party beneficiary of the
        agreement. Plaintiffs’ position, therefore, is indistinguishable from the litigating position
        of the shareholder-plaintiffs that was considered and rejected by the court of appeals in
        Caguas Cent. Fed. Sav. Bank v. United States, 215 F.3d 1304 (Fed.Cir. 2000). Plaintiffs
        have no standing to invoke the tolling agreement on the bank’s behalf.

Id.

        Following Caguas and Frazer, the court in the class action In re Dynegy, Inc. Securities

Litigation, held that a tolling agreement entered into and executed by the corporate defendant

and the Lead Plaintiff on behalf of itself and a putative class did not include or cover claims

brought by purchasers of securities issued by the defendant’s subsidiary. 339 F.Supp.2nd 804,

863-66 (S.D. Texas 2004). Analyzing the plain language of the tolling agreement, the Dynegy

court found that it applied only to the specific parties it was made among. Id. at 865-66. The



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court agreed with the defendants that “[g]iven that the agreement expressly addresses only

‘Dynegy Inc.’ and ‘any offering of Dynegy Inc. securities,’ there is nothing in the text of the

agreement to suggest that a Dynegy Holdings bondholder was intended to be a third-party

beneficiary of the agreement.” Id. at 866 (quotations omitted).

        Like the tolling agreements in each of the five cases discussed above, each of the Tolling

Agreements was made and executed by two expressly named, sophisticated, counseled parties—

Pepsi and the Committee. Only Pepsi and the Committee are defined as “Parties.” Only Pepsi

and the Committee executed each Tolling Agreement. The penultimate “WHEREAS’ clause of

each Tolling Agreement refers to the time in which the Committee may bring an Avoidance

Action. The final “WHEREAS” clause states that “the Parties desire to continue to investigate

and potentially resolve any Causes of Action that the Committee may otherwise commence

against Creditors without the need for litigation.” (Tolling Agreements (emphasis added)).

        Each of the five Tolling Agreements is clearly and unambiguously made between and

executed only by Pepsi and the Committee, and it was only Pepsi and the Committee who

“hereby stipulate[d] and agree[d]” (Tolling Agreements, p. 2). Section 2 of each Tolling

Agreement provides that:

        In consideration of the Committee’s Covenant Not to Sue (as set forth in paragraph 1 of
        this Stipulation), [Pepsi] agree[s] that all statutes of limitation that have not otherwise
        already run including but not limited to those set forth in Section 546 of the Bankruptcy
        Code, applicable to any Cause(s) of Action that the Committee may bring against [Pepsi]
        are hereby extended from the Commencement Date through and including April 16, 2018
        (the "Tolling Period"), and the Tolling Period shall be excluded from any calculation of
        any statute of limitations period applicable to any Cause( s) of Action brought by the
        Committee against [Pepsi]. [Pepsi] acknowledge[s] that it will be estopped hereby from
        arguing that this Stipulation is ineffective to extend the time within which the Committee
        must commence an action to pursue the Causes of Action.

(Tolling Agreements (emphasis added)). This language (approved by the Oversight Committee

on which the Debtors had a designee pursuant to the GSA) unambiguously tolls the statutes of

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limitations applicable only “to any Cause(s) of Action brought by the Committee against Pepsi.”

It does not specifically include, and should not be interpreted as impliedly including, a tolling

period for the Debtors. See DPH, 533 B.R at 27 (stating that “courts should be extremely

reluctant to interpret an agreement as impliedly stating something which the parties have

neglected to specifically include”).

         To paraphrase the Caguas court, the Tolling Agreements were unambiguously intended

to allow Pepsi and the Committee time to negotiate a settlement and there is no reason to think or

read into the Tolling Agreements an intent that they should prolong Pepsi’s exposure to

avoidance claims by any party other than the expressly-bargained-for Committee. To further

paraphrase the five cases discussed above, had Pepsi and the Committee intended to toll the

statute for the Debtors as well, it would have taken only three little words: “and the Debtors.”

         Nor can the fact that any recovery on Avoidance Actions (whether prosecuted by the

Committee or by the Debtors) would benefit the Debtors’ estates support reading the Debtors

into the Tolling Agreements. The Debtors were not party to the Tolling Agreements and, to

follow Caguas, they did not become parties just because part of any recovery the Committee

might have obtained would have been for benefit of the bankruptcy estates. 3 See Caguas, 215

F.3d at 1309.

    3. The Debtors Are Not Third-Party Beneficiaries of the Tolling Agreements.

         As discussed above, the Caguas and Frazer courts also concluded that the tolling

agreement expressly made and executed between only two named parties did not create any

third-party beneficiaries. See id. (explaining that “for there to be third party beneficiaries the


3
  The GSA provides a graduated split of the proceeds of the Avoidance Actions between the bankruptcy estates and
the secured lenders that are party to the GSA. The first $10 million is to be split 75% to the secured lenders and 25%
to the estates. Proceeds between $10 million and $18 million will be split 50/50. Proceeds in excess of $18 million
will go 100% to the estates. (GSA, ¶ 4(b)).

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contract must reflect the express or implied intention of the parties to benefit the third party.”

(citations and quotations omitted); Frazer, 49 Fed. Cl. at 736 (stating that “there is nothing in the

text of the agreement to suggest that the bank was intended to be a third-party beneficiary of the

agreement”).

        This Court has written that “[i]t is generally recognized that the intent to confer a direct

benefit on an unnamed third party must clearly appear for that party to be a third party

beneficiary of a contract between others.” Cavalry Constr., Inc. v. WDF, Inc. (In re Cavalry

Constr., Inc.), 2013 WL 5682741 at *10 (Bankr. S.D.N.Y., Oct. 18, 2013) (citing PT. Bank

Mizuho Indon. v. PT. Indah Kiat Pulp & Paper Corp., 808 N.Y. S.2nd 72, 73 (App. Div. 1st

Dep't 2006) (there must be a “clear intention to confer the benefit of the promised

performance”); Tavella v. Skanska USA, Inc., 902 N.Y.S.2nd 328, 332 (Sup.Ct. Kings Cty.

2010) (“It is the generally accepted rule that the intent to confer a direct benefit on a third party

must clearly appear in order to enable such a party, not named in the contract, to recover

thereunder.”); Consol. Edison, Inc. v. Northeast Utils., 426 F.3d 524, 528 (2nd Cir. 2005) (“To

create a third party right to enforce a contract, the language of the contract must clearly evidence

an intent to permit enforcement by the third party.”) (emphasis in original)). That clear intention

must be shown on the face of the agreement. Cavalry Constr., 2013 WL 5682741 at *10. A

contractual requirement that the promisor render performance directly to the third party shows an

intent to benefit the third party. Subaru Distrib. Corp. v. Subaru of Am., Inc., 425 F.3d 119, 124

(2nd Cir. 2005).

        Conferral of the third-party benefit must be a material part of the agreement’s purpose.

Keller Found. LLC v. Zurich Am. Ins. Co., 758 Fed. Appx. 22, 26-27 (2nd Cir. 2018). It is not

enough that the party claiming third-party beneficiary status might, or even did, receive a benefit



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from the agreement in question. Id. (citing E.I. DuPont de Nemours and Co. v. Rhone Poulenc

Fiber & Resin Intermediates, S.A.S., 269 F.3d 187, 196-97 (3d Cir. 2001) (“Although [the parent

company] . . . would certainly benefit from the success of [its subsidiary], [the parent company]

was not an intended third party beneficiary of the Agreement any more than any parent who

expects to benefit from the success of the business ventures of its subsidiary.”)).

        In Subaru, the court considered multiple provisions of the contract and concluded that the

contract on its face “strongly suggested” that the parties intended to “concern and benefit only

themselves.” 425 F.3d at 125. The court considered the recitals to the agreement, which, like the

recitals in the Tolling Agreements, failed to mention any purpose of benefitting anyone else. Id.

The court considered the agreement’s stated purpose, which was to “set forth the functions and

responsibilities of the parties hereto” and did not include third parties. Id. The Tolling

Agreements also set forth the functions and responsibilities of the Parties, identified as Pepsi and

the Committee, and do not include third parties. (See Tolling Agreements, §§ 1-2). In essence,

the Subaru court found that contractual language that does not include third parties suggests that

the contracting parties did not intend to extend contractual rights to anybody else. Id.

        In other cases, courts have considered inurement clauses and found that those also

suggest that no third-party beneficiary was intended. See, e.g., Anwar v. Fairfield Greenwich,

Ltd., 728 F.Supp.2nd 372, 429 (S.D.N.Y. 2010) (quoting Piccoli A/S v. Calvin Klein Jeanswear

Co., 19 F.Supp.2nd 157, 163 (S.D.N.Y. 1998) (“the specification that the contract inures to the

benefit of and binds the parties ... makes plain the parties’ intention to preclude third-party

enforcement”)). In Sazerac Co., Inc. v. Falk, the court found that an inurement clause stating that

“[t]his Agreement shall be binding upon and inure to the benefit of the parties to this Agreement




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and their respective successors and permitted assigns” barred third-party beneficiary claims. 861

F.Supp. 253, 258 (S.D.N.Y. 1994) (collecting cases).

        As discussed in greater detail below, see infra, pp. 20-30, the Tolling Agreements contain

inurement clauses that strictly limit the tolling benefits to the Committee’s “successors-in-

interests, assigns, and legal representatives.” (Tolling Agreements, § 3(c)). These three terms are

legal terms of art that, by their definitions, cannot be applied to the Debtors’ relationship to the

Committee. See infra, pp. 20-30 (discussing the meanings of the terms “successor in interest,”

“assign,” and “legal representative”).

        The Tolling Agreements on their faces make plain that Pepsi and the Committee intended

to concern and benefit only themselves. The Tolling Agreements’ stated purpose was to allow

Pepsi and the Committee to attempt to negotiate a settlement without the need for litigation

(Tolling Agreements, Recitals). Pepsi and the Committee exchanged consideration solely

between themselves—the Committee gave Pepsi a covenant not to sue (Id., § 1) and Pepsi tolled

the statute of limitations as to any causes of action brought by the Committee against Pepsi.

(Id., § 2).

        While the Tolling Agreements do not have non-assignment or arbitration clauses, they do

have “entire agreement” (id., § 3(e)) and “legal fees and costs” (id., § 3(h)) clauses that have

similar effects. The Tolling Agreements also have inurement clauses, similar to those discussed

in Anwar, Piccoli, and Sazerac, stating that “[t]his Stipulation shall inure to the benefit of, and be

binding upon, any and all successors-in-interests, assigns, and legal representatives, of any

Party,” none of which can be construed to include the Debtors.

        In this Case, even though, like a parent from its subsidiary, the Debtors’ estates would

“certainly benefit”, see DuPont, 269 F.3d at 196-97 (stating that receipt of a certain benefit does



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not create third-party beneficiary status), from the Committee’s successful prosecution of the

Avoidance Actions, the Debtors are not intended third-party beneficiaries of the Tolling

Agreement. Nothing on the face of the Tolling Agreements shows any such intent between Pepsi

and the Committee.

    4. The Debtors Are Not the Committee’s Successors-in-Interests, Assigns, or Legal
       Representatives.

        Because the Debtors are not Parties to the Tolling Agreements or third-party

beneficiaries, the only remaining avenue to claiming the Committee’s benefits under the Tolling

Agreements is as the Committee’s “successors-in-interests, assigns, or legal representatives”

under the Tolling Agreements’ inurement provisions. (See Tolling Agreements, § 3(c) (providing

that “[t]his Stipulation shall inure to the benefit of, and be binding upon, any and all successors-

in-interests, assigns, and legal representatives, of any Party”)). The “successors-in-interests,

assigns, or legal representatives” are expressly the only entities, other than the Committee and

Pepsi, to whom the benefits of the Tolling Agreements inure.

        However, the Debtors have admitted that they have concurrent standing with the

Committee (FAC ¶ 8; SAC, ¶ 8). An allegation stated in a complaint is a judicial admission by

which the plaintiff must be bound throughout the course of this proceeding. Official Comm. of

Unsecured Creditors of Color Tile, Inc. v. Coopers & Lybrand, LLP, 322 F.3d 147, 167 (2nd

Cir. 2003); Bellefonte Re Ins. Co. v. Argonaut Ins. Co., 757 F.2nd 523, 528 (2nd Cir. 1985).

“Plaintiffs may even plead themselves out of court at the outset of their lawsuit by pleading

information that defeats their legal claim.” In re: Initial Public Offering Securities Litigation,

241 F.Supp.2nd 281, 324 (S.D.N.Y. 2003) (citing Conn v. GATX Terminals Corp., 18 F.3d 417,

419 (7th Cir. 1994)).

        The Debtors have admitted that:


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        Neither the Settlement Order nor the GSA affords the Committee sole authority or
        standing to litigate Avoidance Actions on behalf of the Debtors’ estates, and neither the
        Settlement Order nor the GSA impacts or limits the Debtors’ authority and standing to
        prosecute contractual claims on behalf of their bankruptcy estates.

(FAC, ¶ 8; SAC, ¶ 8). Also, as discussed below (see infra, 24-26, discussing standing), the

Debtors have concurrent standing with the Committee even without their admissions in the FAC

and SAC.

        The Debtors’ concurrent standing with the Committee and the specific terms of the

Tolling Agreements must inform the Court’s determination of whether the Debtors can be

considered as “successors-in interests, assigns, or legal representatives” of the Committee for

purposes of the Tolling Agreements. A court will always “begin with the terms of the contract

itself to see if the intent of the parties can be gleaned without resort to extrinsic evidence.” Hugo

Boss Fashions, Inc. v. Fed. Ins. Co., 252 F.3d 608, 617 (2nd Cir. 2001). A definition provided in

the contract explicitly specifies the meaning of a term. Id. However, the terms “successors-in-

interests, assigns, or legal representatives” are not defined in the Tolling Agreements.

        Failure to define a term does not necessarily trigger an ambiguity. Id. at 618. “In the

absence of guidance from the contract’s language, courts ask whether a body of law or an

established custom or usage provides a definition.” Beazely Ins. Co., Inc. v. ACE Am. Ins. Co.,

880 F.3d 64, 69 (2nd Cir. 2018). “It is quite possible that even where a contract does not define a

particular—and potentially ambiguous—term, a body of state law or an established custom fills

in the gaps left by the drafters.” Hugo Boss, 252 F.3d at 617. “Language whose meaning is

otherwise plain does not become ambiguous merely because the parties urge different

interpretations in the litigation. The court is not required to find the language ambiguous where

the interpretation urged by one party would strain the contract language beyond its reasonable

and ordinary meaning.” Hunt Ltd. v. Lifschultz Fast Freight, Inc., 889 F.2nd 1274, 1277 (2nd

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Cir. 1989) (quotations and citations omitted). When a term has a commonly understood meaning

in the context of the contract, a court should not impose other limitations or connotations. See id.

(discussing the term “booking” in context of the freight carriage industry and rejecting a meaning

other than the one “commonly understood”).

        The Tolling Agreements in context are contracts negotiated between the duly appointed

Creditors Committee in a corporate chapter 11 bankruptcy case and corporate potential

defendants to a preference action, each side represented by counsel, and drafted by counsel for

the Committee. They are contracts prepared by lawyers for opposing lawyers so that the

Committee and Pepsi could attempt to avoid litigation and reach an amicable settlement. They

are, in fact, even executed by the lawyers as attorneys for their respective clients.

        Therefore, the terms “successors-in-interests,” “assigns,” and “legal representatives”

should be considered: 1) as lawyers would commonly use or understand them; 2) as having their

reasonable and ordinary meaning when used by lawyers; and 3) as a body of law or established

custom has defined them. The Debtors are not “successors-in-interests, assigns, or legal

representatives” under any of these analyses. The terms are legal terms of art and should be

construed as such.

                 A.       The Debtors Are Not the Committee’s Successors-in-Interests.

        A “successor in interest” is “[s]omeone who follows another in ownership or control of

property. A successor in interest retains the same rights as the original owner, with no change in

substance.” BLACK’S LAW DICTIONARY, (11th ed. 2019). “In order for one corporation to be

deemed a successor corporation in the first place, it must be a successor to all, or substantially

all, of another corporation’s assets.” Premier Capital, LLC v. KMZ, Inc., 464 Mass. 467, 475

(2013) (quoting Nat’l Soffit & Escutcheons, Inc. v. Superior Sys., Inc., 98 F.3d 262, 266 (7th

Cir.1996)); see also Carreiro v. Rhodes Gill & Co., 68 F.3d 1443, 1446-47 (1st Cir.1995)
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(finding that defendant, an alleged successor in interest, was entitled to judgment as a matter of

law where it could not be a successor in interest where there was no transfer of assets or shares

of stock). The Court of Appeals of New York has found a corporation to be a “successor” as a

result of a transaction that was “in substance” a sale of all assets and the seller discontinued

operations. Schumacher v. Richards Shear Co., Inc. 59 N.Y.2nd 239, 244 (1983).

        Further, to become a “successor in interest” the transferee must “retain the same rights as

the original owner.” City of New York v. Turnpike Dev. Corp., 36 Misc.2nd 704, 706 (N.Y. Sup.

Ct. 1962). There cannot be a change in the substance of the transferred rights. Id. A “successor in

interest” cannot hold greater rights in the transferred property than the transferee held. Gracie

Tower Realty Assoc. v. Danos Floral Co., Inc., 142 Misc.2nd 920, 923-24 (N.Y. Civ. Ct. 1989)

(discussing Turnpike Dev., 36 Misc. 2nd at 706).

        In other words, to create a “successor in interest” the predecessor must transfer all or

substantially all of its assets to the successor. There must be assets that belonged to the

predecessor and there must have been a transfer. See Turnpike Dev., 36 Misc.2nd at 706-07

(finding that the defendant could not be a “successor in interest” where there “was not even a

transfer from either of the contracting parties to the defendant”). After the transfer, the transferee

must hold the same rights that the transferor used to hold and not greater or lesser rights.

        Given their concurrent standing and possession of the claim against Pepsi, the Debtors

cannot be the Committee’s “successors-in-interests.” See Andy Warhol Found. For Visual Arts,

Inc. v. Fed. Ins. Co., 189 F.3d 208, 217 (2nd Cir. 1999) (holding that a person who possesses a

concurrent interest with another party cannot be that other party’s successor in interest). Since

the Debtors have uninterruptedly held a claim against Pepsi and the standing to bring it, the




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Committee had nothing to transfer to the Debtors and the elements essential to the creation of a

“successor in interest” are missing.

        In Warhol, the Second Circuit held that Time, Inc. (“Time”), which held a concurrent

copyright with the photographer who photographed Jackie Kennedy at her husband’s funeral,

could not be included as the photographer’s heir or assign in a tolling agreement solely between

the photographer and the Warhol Foundation. Id. Having the concurrent claim meant that Time

could not be a successor. Id.

        Likewise, the Debtors, who have concurrent standing with the Committee cannot be

deemed to be the Committee’s successors-in-interests. Their standing does not flow from a

transfer by the Committee but co-exists with the Committee’s own standing conferred in the

GSA and authorized by this Court.

        Further, any alleged transfer from the Committee to the Debtors would result in a change

in substance because the Debtors’ rights would be greater than the Committee’s. The

Committee’s standing is merely derivative and must be obtained by approval of court. See, e.g.

Official Comm. of Equity Sec. Holders of Adelphia Commc’ns, Inc. v. Adelphia Commc’ns Corp.

(In re Adelphia Commc’ns Corp.), 371 B.R. 660, 666-67 (S.D.N.Y. 2007). A committee has only

an “implied but qualified right” to initiate adversary proceedings, subject to court approval.

Unsecured Creditors Comm. of Debtor STN Enters. v. Noyes (In re STN Enters.), 779 F.2nd 901,

904 (2nd Cir. 1985). If granting derivative standing will be beneficial to and in the best interests

of the estate, Commodore Int’l Ltd. v. Gould (in re Commodore Int’l Ltd.), 262 F.3d 96, 100 (2nd

Cir. 2001), it will be granted to a committee under three circumstances. See, e.g. Official Comm.

of Equity Sec. Holders of Adelphia Commc’ns, Inc. v. Official Comm. of Unsecured Creditors of

Adelphia Commc’ns, Inc. (In re Adelphia Commc’ns, Inc.), 544 F.3d 420, 423-24 (2nd Cir. 2008)



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aff’g 371 B.R. 660.423-24 (laying out the history of committee derivative standing). First, where

the debtor has unjustifiably failed to bring suit. STN, 779 F.2nd at 904-05. Second, where the

debtor consents. Commodore Int’l, 262 F.3d at 100. Third, where the debtor and the committee

both act as plaintiffs. Glinka v. Murad (In re Housecraft Indus. USA, Inc.), 310 F.3d 64, 71 (2nd

Cir. 2002).

        Committee derivative standing may be revoked by court order. Adelphia Commc’ns, 544

F.3d at 423. Court-conferred derivative standing does not transfer ownership and control of

claims to a committee. Id. at 423-25; see also Smart World Techs., LLC v. Juno Online Servs.,

Inc. (In re Smart World Techs., Inc), 423 F.3d 166, 180-83 (explaining that a grant of derivative

standing does not confer ownership of the causes of action).

        On the other hand, the Debtors’ standing to sue on behalf of their estates is expressly

authorized by the Bankruptcy Code. Adelphia Commc’ns, 544 F.3d at 423. A debtor-in-

possession has the sole statutory authority to act as the estate’s legal representative and to hold

and be accountable for property of the estate. See, e.g., Smart World, 423 F.3d at 175 (setting

forth the statutory role and duties of a debtor-in-possession); see also Adelphia Commc’ns, 544

F.3d at 424 (comparing the rights of control over causes of action between a committee with

court-approved derivative standing and a debtor-in-possession’s statutory role).

        In Gracie Tower, the court considered, as a matter of first impression, whether a property

management company that had first lost control of its real property to a receiver appointed in a

foreclosure action and then regained it through a chapter 11 filing could be the receiver’s

successor in interest under the “form and substance” test. 142 Misc.2nd at 923. The court

compared the limited powers and duties of the receiver, whose authority arose entirely from a

court order, with those of an owner in fee simple absolute. Id. The receiver had narrow authority



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as a custodian to “preserve and protect” the property but did not hold title or have other rights

associated with ownership. Id. at 924. There was no change in form as a result of the transfer—

both the receiver and the owner performed the same administrative duties, such as collecting

rent. Id. However, the court found that the transfer from the receiver back to the owner resulted

in a change in substance because the owner “obtained far greater rights than the receiver ever

had” including “control consistent with ownership.” Id. Under these circumstances, the court

held that the owner was not a successor in interest “but rather a mere transferee.” Id.

        In this Case, the Committee has limited authority similar to that of the receiver in Gracie

Tower, while the Debtors’ authority is similar to that of the property owner. Neither element that

creates a successor in interest, a transfer without a resulting change in substance, is present here.

The Committee could not transfer anything to the Debtors because the Debtors never lost their

rights. Even assuming, arguendo, that the Committee could transfer its derivative rights to sue

Pepsi to the Debtors, the transfer would create a change in substance. The Committee could

transfer only its derivative standing and its limited rights to the Debtors, who have, and would

continue to have, full statutory standing and all that goes with their “central role as the estate’s

‘legal representative.’” See Adelphia Commc’ns, 544 F.3d at 424 (quoting Smart World, 423

F.3d at 173-74, 183). Consequently, the Debtors cannot be the Committee’s “successor-in-

interests” and the Tolling Agreements do not inure to the Debtors’ benefit. (See Tolling

Agreements, § 3(c)).

                 B.       The Debtors Are Not the Committee’s Assigns.

        An “assignment” is a “transfer of rights or property.” BLACK’S LAW DICTIONARY, (11th

ed. 2019). To make a valid assignment, “the owner must manifest ‘an intention to make the

assignee the owner of [the] claim.’” Advanced Magnetics, Inc. v. Bayfront Partners, Inc., 106

F.3d 11, 17 (2nd Cir. 1997) (quoting Titus v. Wallick, 306 U.S. 282, 288-89 (1939)).
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         While no special form of words is necessary to effect an assignment it is requisite that
         there be a perfected transaction between the parties, intended to vest in the assignee a
         present right in the things assigned. An assignment at law contemplates templates (sic) a
         completed transfer of the entire interest of the assignor in the particular subject of
         assignment, whereby the assignor is divested of all control over the thing assigned.

Coastal Commercial Corp. v. Samuel Kosoff & Sons, Inc., 10 A.D.2nd 372, 376 (N.Y. App. Div.

1960).

         The Committee cannot make the Debtors the owners of the claim against Pepsi—that

claim belongs to the bankruptcy estates by virtue of § 541(a)(1) of the Bankruptcy Code. See 11

U.S.C. § 541(a)(1). The only thing that the Committee could conceivably transfer to the Debtors

is the Committee’s standing to prosecute Avoidance Actions.

         However, as discussed above, the Committee and the Debtors have concurrent standing

to bring Avoidance Actions. The Committee has only derivative standing while the Debtors have

full statutory standing. Therefore, the Committee cannot transfer standing to the Debtors—the

Debtors already had it, and to a greater degree than the Committee, at the time of the expiration

of the statute of limitations under 11 U.S.C. § 546. Under these circumstances, the Debtors

cannot be the Committee’s assigns because there is nothing for the Committee to assign.

                 C.       The Debtors Are Not the Committee’s Legal Representatives.

         A “legal representative” is “[s]omeone who manages the legal affairs of another because

of incapacity or death, such as the executor of an estate.” BLACK’S LAW DICTIONARY, (11th ed.

2019). It may refer to an executor or administrator who acts for a deceased person or to a trustee

who acts for a party who, by reason of law or agreement, cannot act for itself. Fed. Treasury

Enter. Sojuzplodoimport v. SPI Spirits, Ltd., 726 F.3d 62, 80-82 (2nd Cir. 2013) (holding that,

for purposes of the Lanham Act, a “legal representative” is one who has legal authority to

represent another who is legally incapable of representing itself). A “legal representative” is not



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an agent of a party “but a principal who has been assigned the rights and obligations of the

party.” Kese Indus. v. Roslyn Torah Found., 15 N.Y.3d 485, 490 (N.Y. 2010).

        Consistent with this definition, this Court, going back to the late 1800's, has held the
        words “legal representatives” mean ordinarily executors or administrators, and that
        meaning will be attributed to them in any instance unless there be facts existing which
        show that the words were not used in their ordinary sense, but to denote some other and
        different idea. . . . This definition of “legal representative” corresponds with the case law
        of virtually every other state and federal court that has defined the term.

Id. at 490-91 (internal quotations and citations omitted).

        In the context of bankruptcy cases, a bankruptcy trustee has been held to be a “legal

representative.” See Gordon-Oliver v. Wiesner Prods., Inc. (In re Ryan & Jane, Ltd.), 2016 WL

3742005 at * 2 (Bankr. S.D.N.Y., July 5, 2016) (citing Smart World, 423 F.3d at 174)); see also

Fed. Treasury Enters., 726 F.3d at 80 (citing Abramson v. Superintendence Co., Inc. (In re

Casco Chem. Co.), 335 F.2nd 645, 651 (5th Cir. 1964) (holding that a bankruptcy trustee is a

“legal representative” for purposes of Fed. R. Civ. P. 60(b)). Bankruptcy courts have also

appointed “legal representatives” to protect the interests of unknown or future claimants affected

by a debtor’s reorganization proceedings, precisely because those claimants cannot act for

themselves.

        Thus, because none of the existing committees of unsecured creditors and present
        asbestos claimants represents this key group, a separate and distinct representative for
        these parties in interest must be established so that these claimants have a role in the
        formulation of such a plan. This is especially so given that any plan of reorganization
        must necessarily balance the rights and needs of prepetition creditors against the
        anticipated rights and needs of postpetition creditors with Manville's purportedly limited
        assets and further economic prospects apportioned accordingly.

In re Johns-Manville Corp., 36 B.R. 743, 749 (Bankr. S.D.N.Y. 1984) (footnote omitted).

        The Debtors are not the Committee’s “legal representatives” if for no other reason than

because the Committee was perfectly capable of acting for itself within the agreed-upon tolling

period with Pepsi. The Committee has demonstrated its competence to act in this bankruptcy

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case by filing approximately thirty other adversary proceedings. (See Bankr. Dkt. Nos. 3685-

3694; 3696-398; 3700-3713). Even the slight impediment of finding a law firm other than

Pachulski cannot reasonably be viewed as rendering the Committee incapable of action—

obviously the Debtors were able to find attorneys to act for them, even if belatedly. The Debtors

are also bound by their pleadings, wherein they alleged that they “elected to prosecute this

adversary proceeding themselves” (FAC ¶ 8; SAC ¶ 8), and not that the Committee was unable

to proceed.

        Moreover, it would be logically inconsistent to consider the Debtors as the Committee’s

“legal representatives.” The Committee itself is a legal representative of all unsecured creditors,

see, e.g., Mirant Americas Energy Mktg. v. Official Comm. of Unsecured Creditors of Enron

Corp., 2003 WL 22327118 at *1, *4, *6 (S.D.N.Y., Oct. 10, 2003) (discussing the duties of an

unsecured creditors’ committee and stating that it is “fundamental that a committee represents all

unsecured creditors”), which the Bankruptcy Code defines as any “entity that has a claim against

the debtor that arose at the time of or before the order for relief concerning the debtor.” 11

U.S.C. § 101(1)(A) (emphasis added). The Committee and its members have a fiduciary duty to

“all creditors represented by the committee.” In re Barney’s, Inc., 197 B.R. 431, 442 (Bankr.

S.D.N.Y. 1996). The Committee is a statutory entity, 11 U.S.C. § 1102, granted “broad

consultation and investigative powers” for the protection of the unsecured creditors. See, e.g.,

Advanced Contracting Sol., LLC v. Metallic Lathers & Reinforcing Ironworkers Local 46 (In re

Advanced Contracting Sol., LLC), 582 B.R. 285, 304 (Bankr. S.D.N.Y 2018). Among the powers

and duties of a committee are the powers to investigate the debtor, 11 U.S.C. § 1103(c)(2)

(emphasis added), and to request the appointment of a trustee, 11 U.S.C. § 1103(c)(4), whose

appointment would dispossess the debtor. A committee owes no duty to the debtor or its estate.



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Barney’s, 197 B.R. at 441; see also A.C.E. Elevator Co., Inc. v. Local No. 1, Int’l Union of

Elevator Constructors (In re A.C.E. Elevator Co., Inc.), 2009 WL 3255381 at * 4 (Bankr.

S.D.N.Y., Oct. 7, 2009) (citing Barney’s, 197 B.R. at 441). A debtor, on the other hand, owes

fiduciary duties to the estate and all parties in interest. See, e.g., In re Cenargo, PLC, 294 B.R.

571, 597-98 (Bankr. S.D.N.Y. 2003).

        The Committee’s duties and the Debtors’ duties are incompatible; one has duties to all

unsecured creditors and the other has duties to all parties in interest, including but not limited to

the unsecured creditors. The two sets of duties cannot be regarded as the same, even though they

have some overlap. The Committee is statutorily empowered to represent those with claims

against the Debtor and to act in a manner adversarial to the Debtors, if necessary. The Debtor,

with its fiduciary duties to multiple entities other than its unsecured creditors, cannot stand in the

Committee’s shoes in any way that is consistent with the fiduciary duties of either entity.

Therefore, the Debtors cannot be the Committee’s “legal representatives.”

    5. Equitable Tolling of the Limitations of § 546 is Inappropriate in this Case.

        Equitable tolling is a doctrine that permits courts to extend a statute of limitations on a

case-by-case basis to prevent inequity. Warren v. Garvin, 219 F.3d 111, 113 (2nd Cir. 2000).

Equitable tolling has been allowed where “the claimant has actively pursued his judicial

remedies by filing a defective pleading within the period of limitations, or has been induced or

tricked by his adversary into permitting the deadline to pass.” Family Golf Ctrs., Inc. v. Acushnet

Co. (In re Randall’s Island Family Golf Ctrs.), 288 B.R. 701, 704 (Bankr. S.D.N.Y. 2003) (citing

Young v. U.S., 535 U.S. 43, 50 (2002)). Equitable tolling is favored where plaintiff has “not slept

on its rights and commences a timely state court action in a court of competent jurisdiction, and

the particular defect in the complaint is waivable and frequently waived.” Randall’s Island, 288

B.R. at 705 (citing Burnett v. New York Cent. R.R. Co., 380 U.S. 424, 429 (1965)). The doctrine
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of equitable tolling also applies in cases of fraud, see Randall’s Island, (citing H.R. Rep. No.

103–835, at 23 (1994), U.S. Code Cong. & Admin. News 1994, at 3340)). It has been applied in

bankruptcy where, despite the exercise of due diligence, the plaintiff has been prevented from

filing a timely pleading. Randall’s Island, 288 B.R. at 705 (citing Custom Co. v. Official Comm.

of Unsecured Creditors, 2000 WL 765090 at *2 (N.D. Ill., June 12, 2000)). It has been applied

where clerical errors caused a filing to become untimely. Timbol v. Commercial Bank of Kuwait,

2000 WL 282886 at *3 (S.D.N.Y., March 15, 2000). In Young, the Supreme Court equitably

tolled a statute of limitations where the automatic stay in the debtors’ serial chapter 13 and 7

filings prevented the Internal Revenue Service from timely protecting its claim. 535 U.S. at 50-

51.

        The common thread that runs through all these cases is that the plaintiff, through no

active choice or fault of its own, filed an untimely complaint. These cases are different from the

case where a debtor’s own choices or actions lead to an untimely filing. A debtor-in-possession’s

failure to act diligently and expeditiously nullifies its right to invoke the doctrine of equitable

tolling. Ernst & Young v. Matsumoto (In re United Ins. Mgmt.), 14 F.3d 1380, 1386-87 (9th Cir.

1994). Where the defendant could and did rely on the statute of limitations because it was not

aware that the plaintiff was actively pursuing its remedies, application of equitable tolling would

be unjust. See Burnett, 380 U.S. at 42-30.

        In this Case, the Debtors’ own choices nullify any right they may have to invoke

equitable tolling. They acted neither diligently nor expeditiously. They elected to allow the

Committee to prosecute the Avoidance Actions and to negotiate with Pepsi for the entire

limitations period. As the period drew to a close, the Committee, and not the Debtors,

approached Pepsi to ask for a tolling agreement. For almost an additional nine months after the



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close of the limitations period, the Debtors allowed the Committee to negotiate with Pepsi and

enter into the five separate Tolling Agreements with Pepsi.

        Pepsi was aware that the Debtors had contractually agreed that the Committee would

prosecute the Avoidance Actions with Pachulski as counsel or with substitute counsel to be

selected by the Oversight Committee. Having entered into five timely Tolling Agreements with

the Committee, and none with the Debtors, Pepsi had every reason to rely on the limitations set

forth in § 546 because the Committee, and not the Debtors, was pursuing the Avoidance Actions.

        The Debtors were aware of the Tolling Agreements and the expiration of the § 546

limitations period by virtue of their designee on the Oversight Committee, their own experience

in bankruptcy, and their experienced counsel. However, in the Debtors’ own words, they

nevertheless “elected to prosecute this Action themselves.” (SAC, ¶ 8).

        As mentioned previously, the Debtors would only have been covered had both parties

included three little words (“and the Debtors”). Instead, the Debtors, aware of the circumstances,

apprised of the statutory deadlines, and represented by experienced counsel, allowed the § 546

limitations date to pass without ever making such a request. Consequently, Counts One through

Four of the SAC are untimely.

    6. Two of New York’s Statutes of Limitations Partially Bar the Debtors’ Contract and
       Related Claims.

        Section 213 of the New York Civil Practice Law and Rules provides that actions on

express or implied contracts, except as provided by Article 2 of the UCC or New York’s statutes

regarding warranties on the sale of new homes, and actions for which no limitation is specifically

prescribed by law must be commenced within six years. See N.Y. Civil Practice Law § 213

(McKinney 2019). Under the UCC, actions for breach of contract for sale must be commenced




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within four years from the actual breach. N.Y. Uniform Commercial Code § 2-725 (McKinney

2019).

         Article 2 of the UCC applies to “transactions in goods.” N.Y. Commercial Code § 2-102

(McKinney 2019). Under the UCC, “goods” are “all things (including specially manufactured

goods) which are movable at the time of identification to the contract for sale.” Id. § 2-105.

“‘Identification of goods occurs when existing goods are designated, or agreed upon, as the

goods to which the contract refers.’” Hudson Energy Services, LLC. v. Great Atlantic & Pacific

Tea Co., Inc. (In re Great Atlantic & Pacific Tea Co., Inc), 538 B.R. 666, 672 (S.D.N.Y. 2015)

(quoting In re Erving Indus., Inc., 432 B.R. 354, 370 (Bankr. Mass. 2010); 2 Anderson U.C.C. §

2–501:4, at 734 (3d ed. 2004)). The Debtors have admitted that certain agreements between them

and Pepsi were contracts for the sale of goods. (See, e.g., SAC, ¶ 2 (stating that the Debtors

“continued to purchase goods from Defendants Bottling Group and Frito-Lay . . . as they had

done in the past”)).

         In this Case, filed on April 16, 2018, the Debtors seek recovery on express and implied

contracts, some of which may be for the purchase and sale of goods manufactured by Pepsi

(SAC, Counts Five, Eight, Seventeen, and Twenty-Three); unjust enrichment (SAC, Counts Six,

Nine, Eighteen, and Twenty-Four); and promissory estoppel (SAC, Counts Seven, Ten,

Nineteen, and Twenty-Five) based on transactions or events dating back almost eight years. (See,

e.g., SAC, ¶ 40 (“the Promotion Defendants continued to run Promotions at GAPT’s stores

between December 24, 2010 and the date the last of the GAPT stores were closed in 2015”), ¶ 43

(“From and after December 24, 2010, Promotion Transactions . . . between GAPT and the

Promotion Defendants were evidenced and memorialized by Deal Sheets, Deal Histories,

Invoices and Account Reports”); ¶ 44 (“At all times following December 24, 2010, Promotions



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were initiated by the applicable Promotion Defendant”); ¶ 84 (“Between December 24, 2010 and

November 25, 2015, Defendant Frito-Lay initiated numerous Promotions with GAPT by making

offers electronically to GAPT through Demandtec via a Deal Sheet”) and similar allegations set

forth throughout the SAC). Although the Debtors do not refer to specific transactions or events,

they seek reimbursement of expenses they incurred in connection with promotions of Pepsi

products including “(i) advertising expenses; (ii) expenses incurred in positioning product; and

(iii) the loss of margin resulting from discounting prices in connection with a Promotion.” (SAC,

¶ 47). The Debtors specifically allege that Pepsi agreed to reimburse them for “any price

reductions by GAPT in connection with a Promotion.” (See, e.g., SAC ¶ 87). The Debtors

loosely allege that Pepsi has failed to pay for additional expenses including: “(i) store set-up; (ii)

arranging for advertising; (iii) ensuring that sufficient product was stocked at each store

participating in the Promotion; and (iv) arranging with the applicable Promotion Defendant to

deliver sufficient product to fill shelves and endcaps.” (SAC, ¶ 46 (emphasis added)). The latter

two items must have involved the purchase and sale of Pepsi goods even though the Debtors do

not identify particular transactions in the SAC.

        New York’s statutes of limitation serve the objectives of “finality, certainty and

predictability.” Ace Sec. Corp. v. DB Structured Prod., Inc., 25 N.Y.3d 581, 593 (2017).

Therefore, New York has adopted a “bright-line approach” to ascertain accrual dates in breach of

contract cases. Id. at 593-94. The so-called “discovery rule” does not apply in New York contract

cases. Id. at 594. Under New York law, the statute of limitations on contract cases begins to run

“from the time when liability for wrong has arisen even though the injured party may be ignorant

of the existence of the wrong or injury.” Id.; see also Longo v. KeyBank Nat’l Assoc., 357

F.Supp.3d 263, 270 (S.D.N.Y. 2019) (citing Ace, 25 N.Y.3d at 593). The same is true for New



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York’s Statute of Limitations in Contracts for Sale, N.Y. Uniform Commercial Code § 2-725

(McKinney 2019).

        The Debtors allege that they participated in promotions of Pepsi products from December

24, 2010 through November 25, 2015. (SAC, ¶ 84). The Debtors also allege that Pepsi continued

to pay for promotions at the Debtors’ stores as late as January 28, 2016 (SAC, ¶ 51). They then

allege that “[b]etween them, the Promotion Defendants currently owe GAPT the aggregate sum

of $7,263,739.96 for Promotions conducted at GAPT’s stores, most of which were conducted in

2014 and 2015.” (SAC, ¶ 52). They elsewhere allege that Pepsi owes “$7,263,739.96 (less any

offsets or credits to which they show themselves entitled).” (See, e.g., SAC, ¶ 2).

        Although it is impossible to determine from these allegations when the alleged events

took place or what precisely the alleged debts are for, it seems clear from the above-cited

allegations that the Debtors may seek recovery on causes of action that accrued as far back as

December 24, 2010. The Court should enter summary judgment in Pepsi’s favor on all claims

arising under contracts for sale in Counts Five through Twenty-Five that accrued before April

16, 2014 and all claims in Counts Five through Twenty-Five, not arising under contracts for sale,

that accrued before April 16, 2012.

                                       IV.     CONCLUSION

        For the foregoing reasons, summary judgment should be granted in Pepsi’s favor on

Counts One through Four of the Debtors’ Second Amended Complaint. Partial summary

judgment should be granted on all claims arising under contracts for sale in Counts Five through

Twenty-Five that accrued before April 16, 2014 and all claims in Counts Five through Twenty-

Five, not arising under contracts for sale, that accrued before April 16, 2012.




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Dated: October 4, 2019                             Respectfully submitted,

                                                   /s/ Jeffrey Chubak
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